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             IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE DISTRICT OF SOUTH CAROLINA
                         ANDERSON DIVISION

UNITED STATES OF AMERICA                )         Cr. No. ~: ~.:l c,e_ 3 ~~~
                                        )                 18 U.S.C. § 922(~X~        CC
               vs.                      )                 1s u.s.c. § 924(a)(J1 ,,             I IIE"O
                                        )                                            4
                                                                          IJ.s. D1        JO 2022
MOHAMED SHA WKI SHABAAN,                )                                  G1r~fJA1cr C
  a/k/a Hamdi Shawki,                   )                                                'v/f..1..€ OuA,
                                                                                              , S.c
  a/k/a Mohamed Shabaan                 )         SEALED INDICTMENT                                 .



                                    COUNT!

THE GRAND JURY CHARGES:

      That on or about March 22, 2019, in the District of South Carolina, the

Defendant, MOHAMED SHA WKI SHABAAN, a/k/a Hamdi Shawki, a/k/a

Mohamed Shabaan, in connection with the attempted acquisition of a firearm, to wit;

a handgun from Deep South Defense, LLC, a federally licensed firearms dealer,

knowingly made a false and fictitious written statement on a Department of Justice,

Bureau of Alcohol, Tobacco, Firearms, and Explosives form 4473 , which was

intended and likely to deceive Deep South Defense, LLC, as to a material fact to the

lawfulness of such sale of the firearm to the Defendant, in that the Defendant

answered question 11 (d) that he was not a fugitive from justice, when, in fact, he

knew he was a fugitive;

      In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).
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                                     COUNT2

THE GRAND JURY FURTHER CHARGES:

      That on or about May 3, 2019, in the District of South Carolina, the Defendant,

MOHAMED SHA WKI SHABAAN, a/k/a Hamdi Shawki, a/k/a Mohamed Shabaan,

in connection with the attempted acquisition of a firearm, to wit; a handgun from

Clemso~ Gun and Pawn, a licensed firearms dealer withing the meaning of Chapter

44, Title 18, United States Code, knowingly made a false and fictitious written

statement to Clemson Gun and Pawn, on a Department of Justice, Bureau of Alcohol,

Tobacco, Firearms, and Explosives form 4473, Firearms Transaction Record, which

statement was intended and likely to deceive Clemson Gun and Pawn, as to a

material fact to the lawfulness of such sale of the firearm to the Defendant under

Chapter 44 of Title 18, in that the Defendant answered question 11 (d) that he was

not a fugitive from justice, when, in fact, he knew he was a fugitive;

      In violation ofTitle 18, United States Code, Sections 922(a)(6) and 924(a)(2).
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                                     COUNT3

THE GRAND JURY FURTHER CHARGES:

      That on or about October 19, 2020, in the District of South Carolina, the

Defendant, MOHAMED SHA WK.I SHABAAN, a/k/a Hamdi Shawki, a/k/a

Mohamed Shabaan, in connection with the attempted acquisition of a firearm, to wit;

a Stevens shotgun from Clemson Gun and Pawn, a federally licensed firearms dealer,

knowingly made a false and fictitious written statement on a Department of Justice,

Bureau of Alcohol, Tobacco, Firearms, and Explosives form 4473, which was

intended and likely to deceive Clemson Gun and Pawn, as to a material fact to the

lawfulness of such sale of the firearm to the Defendant, in that the Defendant

answered question 21 (d) that he was not a fugitive from justice, when, in fact, he

knew he was a fugitive;

      In violation of Title 18, United States Code, Sections 922( a)( 6) and 924(a)(2)
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                                         REDACTED


                                           FOREPERSON                 °

COREY F. ELLIS
UNITED STATES ATTORNEY

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